 4:15-cr-03044-JMG-CRZ                Doc # 30   Filed: 07/13/15   Page 1 of 1 - Page ID # 75




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                  4:15CR3044

       vs.
                                                                       ORDER
NICOLE LYNN ZABEL and
KENNETH ALI CARMAN,

                        Defendants.


       Defendant Zabel, has moved to continue the pretrial motion deadline, (filing no. 27),
because the defendant and defense counsel need additional time to fully review the discovery
received before deciding if pretrial motions should be filed. The government has not responded
to the motion to continue, and the deadline for doing so has passed. The motion is therefore
deemed unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Zabel’s motion to continue, (filing no. 27), is granted.

       2)     As to both defendants, Pretrial motions and briefs shall be filed on or before July
              29, 2015.

       3)     As to both defendants, Trial of this case is continued pending resolution of any
              pretrial motions filed.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendant in a speedy trial, and as to both
              defendants, the additional time arising as a result of the granting of the motion,
              the time between today’s date and July 29, 2015, shall be deemed excludable time
              in any computation of time under the requirements of the Speedy Trial Act,
              because despite counsel’s due diligence, additional time is needed to adequately
              prepare this case for trial and failing to grant additional time might result in a
              miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       July 13, 2015.                                 BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
